Case 5:19-cv-00887-KK Document 104 Filed 02/04/21 Page 1 of 4 Page ID #:961




 1 SCOTT B. LIEBERMAN, Cal. Bar No. 208764
      slieberman@ftrlfirm.com
 2 T. KEVIN ROOSEVELT, Cal. Bar No. 205485
      kroosevelt@ftrlfirm.com
 3 FINLAYSON TOFFER
   ROOSEVELT & LILLY LLP
 4 15615 Alton Parkway, Suite 250
   Irvine, California 92618
 5 Telephone: 949-759-3810
   Facsimile: 949-759-3812
 6
   Attorneys for Plaintiff
 7 SHUANG YING (NANCY) ZHANG
 8
                          UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10
11 SHUANG YING (NANCY) ZHANG,                Case No. 5:19-CV-00887-KK
12                     Plaintiff,            Judge: Hon. Kenly Kiya Kato
           v.
13                                           PLAINTIFF SHUANG YING
     A-Z REALTY & INVESTMENT                 (NANCY) ZHANG'S WITNESS
14   CORP., a California corporation;        LIST
     DONGYAN (ANNIE) ZHENG, an
15   individual; JENNIFER WHELAN, an
     individual; REALTY ONE GROUP,
16   INC., a California corporation; JIHUI
     (LUCKY) LUO, an individual, SHI
17   DAN CHEN, and individual; MING-         Complaint Filed: May 10, 2019
     WING LAM, an individual; FU LONG        Trial Date:      March 15, 2021
18   ZHENG, an individual; and DOES 1-
     30, inclusive,                          Pretrial Conference:
19                                           Date:     February 25, 2021
                       Defendants.           Time:     10:00a.m.
20                                           Crtrm: 3/4 – Riverside
21
22
23
24
25
26
27
28

                PLAINTIFF SHUANG YING (NANCY) ZHANG'S WITNESS LIST
Case 5:19-cv-00887-KK Document 104 Filed 02/04/21 Page 2 of 4 Page ID #:962




 1          Pursuant to the Court's Civil Trial Scheduling Order [Doc. 70] and Local
 2 Rule 16-5, Plaintiff Shuang Ying (Nancy) Zhang ("Zhang") submits the following
 3 list of witnesses she intends to call at trial:
 4          1.    Shuang Ying (Nancy) Zhang
 5          2.    Maggie Pearce
 6          3.    Louis Liu*
 7          4.    Steve Liu*
 8          5.    Dongyan (Annie) Zheng
 9          6.    Jennifer Whelan
10          7.    Jihui (Lucky) Luo
11          8.    Paul LePage
12          9.    Shi Dan Chen
13          10. Ming-Wing Lam
14          11. Miaoyun Wu*
15          12. Xin Li*
16          13. William S. Eidelman, M.D.*
17          14. John Carroll*
18          15. Zerong Yang (contact information in the possession of Defendant
19                Dongyan (Annie) Zheng)
20          16. Robert Griswold (expert)
21          17. John Callanan (expert)
22          18. David Gribin (expert)
23          19. Chris Conrad (expert)
24         By listing a witness herein, Zhang does not commit to calling the witness or
25 introducing testimony from the witness at trial, and Zhang further reserves any and
26 all objections to the admissibility of testimony from any witness at trial. Zhang
27 reserves the right to: (a) narrow her list of witnesses; (b) rely upon the testimony of
28 any witness(es) called by any party; (c) rely upon deposition testimony of any
                                                 1
                 PLAINTIFF SHUANG YING (NANCY) ZHANG'S WITNESS LIST
Case 5:19-cv-00887-KK Document 104 Filed 02/04/21 Page 3 of 4 Page ID #:963




 1 witness whose deposition was taken in this action to the extent permitted by the
 2 Federal Rules of Evidence; and (d) call or introduce testimony from any witness(es)
 3 necessary for impeachment or rebuttal purposes.
 4
 5 DATED: February 4, 2021
 6                              FINLAYSON TOFFER ROOSEVELT & LILLY LLP
 7
 8
                                By                 /s/ Scott B. Lieberman
 9                                                    Scott B. Lieberman
10
                                                 Attorneys for Plaintiff
11                                          SHUANG YING (NANCY) ZHANG
12
13 .
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             2
                PLAINTIFF SHUANG YING (NANCY) ZHANG'S WITNESS LIST
Case 5:19-cv-00887-KK Document 104 Filed 02/04/21 Page 4 of 4 Page ID #:964




 1                           CERTIFICATE OF SERVICE
 2
         I am employed in the County of Orange; I am over the age of eighteen years
 3 and not a party to the within entitled action; my business address is 15615 Alton
   Parkway, Suite 250, Irvine, California 92618. I am a registered user of the CM/ECF
 4 system for the United States District Court for the Central District of California.
 5       On February 4, 2021, I electronically filed the foregoing document with the
   Clerk of the Court using the CM/ECF system. To the best of my knowledge, all
 6 counsel to be served in this action are registered CM/ECF users and will be served
   by the CM/ECF system.
 7
         I declare under penalty of perjury under the laws of the United States of
 8 America that the foregoing is true and correct.
 9        Executed on February 4, 2021, at Irvine, California.
10
11                                                    /s/ Scott B. Lieberman
12                                                       Scott B. Lieberman

13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             1
                                CERTIFICATE OF SERVICE
